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lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

BODYGUARD PRODUCTIONS, INC., )
) Case No.: l'/'-cv-8904
Plaintiff, )
) Judge Robcrt M. Dow, Jr.
v. )
)
DOES 1-23, )
)
Defendants. )

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DOE DEFENDANT NO. 18

Plaintiff, Bodyguarcl Procluctions, lnc., pursuant to Rule 4l(a)(l) ofthe chcral Rules of
Civil Procedure, hereby dismisses with prejudice all causes of action in the complaint against the
Doe Det`endant associated with hiterncl Protocol address 73.247. l 02.204 (Doe No. 18). Each party
shall bear its own attorney`s fees and costs. Plaintifi`is not dismissing any other Doe defendants at
this timc.

The respective Doe Defendant has not filed an answer to thc complaint or a motion for
summary judgment in this matter. 'I`hcrel`ore1 it is respectfully submitted that dismissal under Rule
41(21)(1) is appropriate

Respecti`ully submitted1
Datcd: lone 14, 2018 BODYGUARD PRODUCTIONS, INC.

By: s/l\/lichae| A. Hierl k
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CERT|FICATE OF` SERVICE

The undersigned attorney hereby certifies that a true and correct copy ofthe foregoing
Notiee of Voluntary Dismissal ofDoe Defendant No. 18 Was tiled electronically with the Clerk

oi` the Court and served on all counsel oi` record and interested parties via the CM/ECF system on
June 14, 2018.

s/Michael A. Hierl

 

